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                         UNITED STATES DISTRICT COURT
 1
                                   FOR THE
 2                     WESTERN DISTRICT OF PENNSYLVANIA
 3

 4   AMY BUMBARGER,                           )
                                              )
 5                 Plaintiff                  )
 6
                                              ) Case No.:
           v.                                 )
 7                                            ) COMPLAINT AND DEMAND FOR
     CAPITAL ONE BANK, N.A.,                  ) JURY TRIAL
 8
                                              )
 9                  Defendant                 )
10
                                        COMPLAINT
11
           AMY BUMBARGER (“Plaintiff”), by and through her attorneys, KIMMEL
12

13
     & SILVERMAN, P.C., allege the following against CAPITAL ONE BANK, N.A.

14   (“Defendant”):
15
                                     INTRODUCTION
16
           1.      Plaintiff’s Complaint is based on the Telephone Consumer Protection
17

18   Act, 47 U.S.C. § 227 et seq (“TCPA”).

19                              JURISDICTION AND VENUE
20
           2.      Jurisdiction of this Court arises pursuant to 28 U.S.C. § 1331. See
21
     Mims v. Arrow Fin. Services, LLC, 132 S. Ct. 740, 747, 181 L. Ed. 2d 881 (2012).
22

23         3.      Defendant conducts business in the Commonwealth of Pennsylvania,
24   and as such, personal jurisdiction is established.
25
           4.      Venue is proper pursuant to 28 U.S.C. § 1391(b)(2).

                                                1

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                                            PARTIES
 1

 2           5.      Plaintiff is a natural person residing in West Mifflin, Pennsylvania
 3
     15122.
 4
             6.      Plaintiff is a “person” as that term is defined by 47 U.S.C. § 153(39).
 5

 6
             7.      Defendant is a company with its principal place of business located at

 7   1680 Capital One Drive, Mclean, Virginia 22101.
 8
             8.      Defendant is a “person” as that term is defined by 47 U.S.C. § 153
 9
     (39).
10

11           9.      At all relevant times, Defendant acted through its agents, employees,

12   officers, members, directors, heirs, successors, assigns, principals, trustees,
13
     sureties, subrogees, representatives, and insurers.
14
                                  FACTUAL ALLEGATIONS
15

16           10.     Plaintiff has a cellular telephone number that she has had for more
17   than one (1) year.
18
             11.     Plaintiff has only used this number as a cellular telephone number.
19
             12.     Beginning in late January or early February 2015, and continuing
20

21   through May 2015, Defendant called Plaintiff on her cellular telephone on a
22
     repetitive and continuous basis.
23
             13.     When contacting Plaintiff on her cellular telephone, Defendant used
24

25
     an automatic telephone dialing system and/or automatic and/or pre-recorded


                                                  2

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     messages.
 1

 2         14.    Defendant’s automated messages identified its company as the caller.
 3
           15.    Defendant’s telephone calls were not made for “emergency
 4
     purposes.”
 5

 6
           16.    In late January or early February 2015, Plaintiff revoked any consent

 7   previously given to Defendant to place telephone calls to her cellular telephone
 8
     number.
 9
           17.    Defendant heard and acknowledged Plaintiff’s revocation of consent
10

11   and demand to stop calling her cellular telephone number.

12         18.    Despite the above, Defendant persisted in calling Plaintiff on her
13
     cellular telephone.
14
           19.    Specifically, but not inclusively, Defendant called Plaintiff’s cellular
15

16   telephone on: May 3, 2015, at 11:48 a.m.; May 3, 2015, at 4:37 p.m.; May 4,
17   2015, at 9:39 a.m.; May 4, 2015, at 1:21 p.m.; May 5, 2015, at 10:56 a.m.; May 5,
18
     2015, at 4:22 p.m.; May 6, 2015, at 8:33 a.m.; May 6, 2015, at 3:33 p.m.; May 7,
19
     2015, at 8:41 a.m.; May 7, 2015, at 4:04 p.m.; May 19, 2015, at 10:20 a.m.
20

21         20.    Upon information and belief, Defendant conducted its business in a
22
     manner that violates the TCPA.
23

24

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 1

 2

 3
                          DEFENDANT VIOLATED THE
 4                  TELEPHONE CONSUMER PROTECTION ACT

 5                                         COUNT I
 6
           21.    Plaintiff incorporates the forgoing paragraphs as though the same
 7
     were set forth at length herein.
 8

 9         22.    Defendant initiated multiple automated telephone calls to Plaintiff’s
10
     cellular telephone using an automated message and/or prerecorded voice and/or
11
     automatic telephone dialing system.
12

13
           23.    Defendant’s calls to Plaintiff were not made for emergency purposes.

14         24.    Defendant’s calls to Plaintiff were not made with Plaintiff’s prior
15
     express consent.
16
           25.    Defendant’s acts as described above were done with malicious,
17

18   intentional, willful, reckless, wanton and negligent disregard for Plaintiff’s rights

19   under the law and with the purpose of harassing Plaintiff.
20
           26.    The acts and/or omissions of Defendant were done unfairly,
21
     unlawfully, intentionally, deceptively and fraudulently and absent bona fide error,
22

23   lawful right, legal defense, legal justification or legal excuse.

24

25



                                                 4

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            27.    As a result of the above violations of the TCPA, Plaintiff has suffered
 1

 2   the losses and damages as set forth above entitling Plaintiff to an award of
 3
     statutory, actual and trebles damages.
 4
                                    PRAYER FOR RELIEF
 5

 6
            WHEREFORE, Plaintiff, AMY BUMBARGER, respectfully prays for a

 7   judgment as follows:
 8
                   a.      All   actual   damages     suffered   pursuant   to   47   U.S.C.
 9
                           §227(b)(3)(A);
10

11                 b.      Statutory damages of $500.00 per violative telephone call

12                         pursuant to 47 U.S.C. §227(b)(3)(B);
13
                   c.      Treble damages of $1,500 per violative telephone call pursuant
14
                           to 47 U.S.C. §227(b)(3);
15

16                 d.      Injunctive relief pursuant to 47 U.S.C. §227(b)(3);
17                 e.      Any other relief deemed appropriate by this Honorable Court.
18
                                 DEMAND FOR JURY TRIAL
19
            PLEASE TAKE NOTICE that Plaintiff, AMY BUMBARGER, demands a
20

21   jury trial in this case.
22
                                              RESPECTFULLY SUBMITTED,
23
     Date: 2/01/16                            By: /s/ Craig Thor Kimmel
24                                               CRAIG THOR KIMMEL
25
                                                 Attorney ID No. 57100
                                                 Kimmel & Silverman, P.C.

                                                 5

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